11/11/21, 1:39 PM      Case 1:21-cv-00748-SM        Document
                                   How to File a Complaint            36-1
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       HOW TO FILE A COMPLAINT WITH THE OFFICE OF PROFESSIONAL
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                                                           Page 3 of 3
     Thank you for submitting your complaint to the Office of Professional Responsibility.

     OPR will review your complaint in the order in which it was received and provide a response within 8-12 weeks.

     You may mail any additional supporting documents for this complaint to:

             Director and Chief Counsel
             Office of Professional Responsibility
             950 Pennsylvania Avenue, N.W., Suite 3266
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